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     Attorneys for Claimant John Doe
   8
   9                              UNITED STATES DISTRICT COURT
  10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 UNITED STATES OF AMERICA,                 CASE NO. 2:21-CV-07566-RGK-MARx
  13                     Plaintiff,            CLAIM
  14               vs.                         Assigned to Hon. R. Gary Klausner
  15 $200,000.00 In U.S. Currency
  16                     Defendant.
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       3779472.1
                                              CLAIM
Case 2:21-cv-07566-RGK-MAR Document 10 Filed 03/15/22 Page 2 of 3 Page ID #:33




   1                                           I. CLAIM
   2               Pursuant to Supplemental Rule G(5)(a), John Doe1 (“Claimant”) hereby
   3 submits his claim contesting forfeiture of the defendant assets in this civil in rem
   4 forfeiture action. Claimant is the owner of the contents of Box No. 404 seized from
   5 U.S. Private Vaults on or around March 22, 2021, including $200,000.00 in U.S.
   6 currency, the defendant assets in this case, previously identified as Asset ID No. 21-
   7 FBl-003052.
   8
   9 DATED: March 15, 2022                    Benjamin N. Gluck
                                              Nicole R. Van Dyk
  10
                                              Ashley D. Bowman
  11                                          Naomi S. Solomon
                                              Bird, Marella, Boxer, Wolpert, Nessim,
  12
                                              Drooks, Lincenberg & Rhow, P.C.
  13
  14                                          By:
  15                                                      Benjamin N. Gluck
  16                                                Attorneys for Claimant John Doe

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         “John Doe” is a pseudonym, which Claimant has chosen to use in connection
  27 with this matter to protect Claimant’s Fifth Amendment rights. Claimant’s counsel
  28 is aware of Claimant’s legal name.
       3779472.1
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                                                    CLAIM
Case 2:21-cv-07566-RGK-MAR Document 10 Filed 03/15/22 Page 3 of 3 Page ID #:34




   1                                        II. VERIFICATION
   2               I am the owner of and have a possessory interest in all the contents of Box
   3 No. 5308 seized from U.S. Private Vaults on or around March 22, 2021, including
   4 $200,000.00 in U.S. currency, the defendant assets in this action, previously
   5 identified as Asset ID. No. 21-FBl-003052.
   6               “John Doe” is a pseudonym, which I am using here to protect my Fifth
   7 Amendment rights. I have disclosed my legal name to my counsel.
   8               I declare under penalty of perjury under the laws of the United States of
   9 America that the foregoing is true and correct, and that I executed this declaration
  10 on March ___,
              15 2022, at _____________,
                           Los Angeles California.
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  13                                                          “John Doe”
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                                                    CLAIM
